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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

In re: BAIR HUGGER FORCED AIR                             MDL No. 15-2666 (JNE/DTS)
WARMING DEVICES PRODUCTS                                  ORDER
LIABILITY LITIGATION

This Document Relates to All Actions

       The parties filed a Joint Motion Regarding Continued Sealing. See LR 5.6(d)(2).

In an Order filed on June 15, 2023, the Honorable David T. Schultz, United States

Magistrate Judge, granted in part and denied in part the motion, and directed the Clerk to

keep certain documents sealed and to unseal certain documents. Plaintiffs objected to the

Order. Defendants responded. The Court declines to consider Plaintiffs’ objection.

       “The magistrate judge will ordinarily rule on the joint motion [regarding continued

sealing] without oral argument. A party . . . who objects to the order must file a motion

for further consideration under LR 5.6(d)(3).” LR 5.6(d)(2)(C). “A party . . . may object

to a magistrate judge’s order disposing of a motion for further consideration of sealing,

but only if that party . . . filed or opposed the motion. The objection is governed by LR

72.2(a).” LR 5.6(d)(4).

       Plaintiffs objected to the June 15 Order. They did not file a motion for further

consideration under LR 5.6(d)(3). Accordingly, the Court declines to consider Plaintiffs’

objection. See LR 5.6(d)(2)(C); LR 5.6 Advisory Committee Note (2017) (“No party . . .

may ask the district judge to review the magistrate judge’s order [ruling on the joint

motion]. Instead, a party . . . who objects to the order must first file a motion for further




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consideration under LR 5.6(d)(3). An order disposing of a motion for further

consideration is reviewable by the district judge.”).

       Based on the files, records, and proceedings herein, and for the reasons stated

above, IT IS ORDERED THAT:

       1.     The Clerk of Court shall terminate Docket No. 2303.

Dated: July 20, 2023
                                                        s/Joan N. Ericksen
                                                        JOAN N. ERICKSEN
                                                        United States District Judge




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